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               RELEASE IN FULL OF ALL CLAIMS AND RIGHTS

       IN CONSIDERATION of the sum of$5,620.00 (FIVE THOUSAND SIX

HUNDRED AND TWENTY DOLLARS), Timothy Actkinson releases and discharges

the State of Oregon and all departments, agencies, officers, agents, and employees of the

State of Oregon, including but not limited to the Oregon Department of Corrections, of

and from any and all known or unknown or unforeseen: actions, claims, liabilities, injury,

losses, rights of contribution or indemnity, and damages without limitation which now

exist to include but not limited to those alleged or which may develop or are in any way

connected with or based upon (l) the allegations set forth in documents filed in the

United States District Court, District of Oregon, Case Nos. 6:04-cv-00698-AA and 6:08-

cv-0187-TC respectively entitled TIMOTHY ACTKINSON V. DR. JOHN MICHAEL

VARGO et. al. and TIMOTHYTABIAS ACTKlNSON V. DR. STEVE SHELTON et. al.;

and (2) any aspect of plaintiff's imprisonment by the Oregon Department of Corrections

up to the present date-regardless of whether Timothy Actkinson has yet discovered any

potential or actual injury-including but not limited to the medical and mental health care

provided or not provided to plaintiff during his incarceration and any event regarding

property, or use of force or other event.

       I agree that all the health and mental health care provided to me during my prior

imprisonments in State of Oregon prisons was medically appropriate, and that I was

properly diagnosed and treated for all medical and mental health concerns that I raised

during those incarcerations.




Page 1 - RELEASE IN FULL OF ALL CLAIMS AND RIGHTS
                                                                           Exhibit 1, Page 1 of 4
                                                                           to Notice of Settlement
                                                                           Actkinson, 6:08-cv-0187-TC
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       I hereby expressly waive and relinquish any and all rights under any law or statute

of the State of Oregon and the United States for any and all damages or injuries arising

out of or related to the above entitled cases and matters referred to above.

       I agree to pay and satisfy all unsatisfied bills, charges, liens, subrogation rights,

and reimbursement rights which are or may be presented or held by other persons or

organizations having provided services, insurance benefits, or other value to me or on my

behalf as a result of the injuries and damages arising out of the matters described and

referred to herein. I further agree to hold harmless from any such claims the parties being

released, their agents, representatives, successors, and assigns.

       I understand and agree that this is a compromise settlement, and payment is

accepted voluntarily as full and final compromise, satisfaction and settlement of disputed

claims and rights. I further understand and agree that this settlement is not to be

considered as an admission of any liability or fault whatsoever, in whole or in part, for

the incident by the parties released, their agents, or representatives. I further understand

and agree that the parties who are released by this agreement expressly deny any liability

or fault whatsoever, in whole or in part, for the matters described and referred to by this

document.

        I agree that, pursuant to this settlement, defendants may take the necessary steps

to cause an order of dismissal with prejudice and without costs of the lawsuit to be

entered in Case Nos. 6:04-cv-00698-AA and 6:08-cv-0187-TC respectively entitled

TIMOTHY ACTKINSON V DR. JOHN MICHAEL VARGO et. al. and TIMOTHY TABIAS

ACTKINSON V DR. STEVE SHELTON et. al., in the District of Oregon.




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                                                                               Exhibit 1, Page 2 of 4
                                                                               to Notice of Settlement
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                  This release contains the entire agreement between me and the parties released

         and their agents and representatives, and it is agreed that the terms of this release are

         contractual and not merely recitals.

                  I UNDERSTAND THIS IS ALL THE MONEY I WILL RECEIVE AS A

         RESULT OF THE MATTERS REFERRED TO HEREIN.

                  I HAVE READ THIS RELEASE; I UNDERSTAND IT; AND I AM SIGNING

         IT VOLUNTARILY.
                                          ~
                   DATED this ~ day of June, 2009.




                     OFFICIAL SEAL
                 HANNAH L SWAN
    \.   .'    NOTARY PUBUC·OREGON
•              COMMISSION NO. 417510
          MY COMMISSION EXPIRES MAY 17. 2011      Notary Public for Oregon
                                                  My commission expires:     S. (1.1/




         Approved as to fo,rlli;~~'l4~l-JU~~~~-l-1




         Page 3 - RELEASE IN FULL OF ALL CLAIMS AND RIGHTS
                                                                                       Exhibit 1, Page 3 of 4
                                                                                       to Notice of Settlement
                                                                                       Actkinson, 6:08-cv-0187-TC
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Facsimile: (541) 344-2956
OSB#91019


                    IN THE UNITED STATES DISTRICT COURT

TIMOTHY T ABIAS ACTKINSON,                   )
                                             )      08-cv-0187- TC
                                             )
                      Plaintiff,             )      AUTHORIZATION OF
                                             )      TIMOTHY ACTKINSON
                                             )      FOR EMILIO F. BANDIERO
                      vs.                    )      TO REPRESENT HIM IN
                                             )      THIS MATTER
DR. STEVE SHELTON, et aI,                           )
                                             )
                      Defendants.            )

       I, TIMOTHY ACTKINSON, the plaintiff in the above entitled matter, hereby

authorize Emilio F. Bandiero, Attorney at Law, to represent me in this matter for the

purposes of settlement of this case in conjunction with United States District Court Case

number 04-cv-00698, titled Acktinson v. Dr. John Michael Vargo, et, al.
                            ~
       DATED THIS     If.. DAY OF JUNE, 2009.
                                                   L              t tf/!;bc-
                                                    TIMOTHY T. ACKTINSON




AUTHORIZATION OF TIMOTHY ACKTINSON
                                                                          Exhibit 1, Page 4 of 4
                                                                          to Notice of Settlement
                                                                          Actkinson, 6:08-cv-0187-TC
